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 8                     UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
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11   YOLANDA ESTELLA H.,                      Case No. 5:20-00234-PD
12                     Plaintiff,             JUDGMENT
13         v.
14   KILOLO KIJAKAZI, ACTING
15   Commissioner of Social Security,

16                     Defendant.

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          Pursuant to the Court’s Memorandum Opinion and Order,
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          IT IS ADJUDGED that the decision of the Administrative Law Judge is
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     Reversed and this matter Remanded to the Social Security Administration,
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     for further administrative proceedings consistent with the Court’s
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 1   Memorandum Opinion and Order filed contemporaneously with the filing of
 2   this Judgment. 1
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 4   DATED: September 30, 2021
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 6                                         HON. PATRICIA DONAHUE
                                           UNITED STATES MAGISTRATE JUDGE
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      Plaintiff’s name has been partially redacted in accordance with Federal Rule of
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     Civil Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
26   Administration and Case Management of the Judicial Conference of the United
     States. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
27   Kijakazi, the current Acting Commissioner of the Social Security Administration, is
     hereby substituted in as the Defendant.
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